Case 4:23-cv-01740   Document 18   Filed on 09/23/24 in TXSD   Page 1 of 5
                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                                                                  September 23, 2024
                                                                   Nathan Ochsner, Clerk
Case 4:23-cv-01740   Document 18   Filed on 09/23/24 in TXSD   Page 2 of 5
Case 4:23-cv-01740   Document 18   Filed on 09/23/24 in TXSD   Page 3 of 5
Case 4:23-cv-01740   Document 18   Filed on 09/23/24 in TXSD   Page 4 of 5
Case 4:23-cv-01740   Document 18   Filed on 09/23/24 in TXSD   Page 5 of 5
